Case 2:05-cr-20268-.]DB Document 8 Filed 07/26/05 Page 1 of 2 Page|D 8

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)
Plaintiff, )

) cr. No. 05-20268-M1

VS. )
)
cHARLEs GRuBB, )
)
Defendant. )

 

 

Upon motion of the United States, the instant case is hereby transferred to United
States District Judge J. Daniei Breen.

lt is So ORDERED this 2§ day of Ju|y, 2005.

@M‘GQQ

J P. |VlcCALLA
ited States District Judge

 

 

This document entered on the docket sheet' in compliance
with note 55 and/or 32(6) irrich on 22 7’05

 

 

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Honorable J on McCalla
US DISTRICT COURT

